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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                       Plaintiff,

                       v.                                    Case 1:19-cv-02184-TJK

FACEBOOK, INC.,
a corporation,

                       Defendant.



                                       STATUS REPORT

       Defendant Facebook, Inc. (n/k/a Meta Platforms, Inc.) (“Meta”) respectfully submits this

Status Report regarding Meta’s pending Motion to Enforce the Stipulated Order and to Enjoin

the Administrative Reopening Proceeding of the Federal Trade Commission (Dkt. No. 38) (the

“Motion”).

       Meta’s current deadline to respond to the Commission’s order to show cause is Novem-

ber 30 (Dkt No. 53 at 3 n.5.). In the parties’ June 6 Joint Status Report (Dkt No. 46), the parties

agreed “to discuss in good faith further extensions consistent with the Court’s schedule for con-

sidering Defendant’s Motion.” On November 15, Meta requested the Government’s agreement

to a further extension of Meta’s deadline to a date 14 days after the Court rules on the Motion,

and the parties met and conferred with each other and with FTC staff on November 20.

       The Government and FTC staff agreed that, to the extent the Court rules on the Motion

on or before November 30, then FTC staff would not oppose Meta’s motion to extend its time to

respond to the order to show cause (if necessary) to 14 days after the Court’s ruling. The parties

and FTC staff further agreed that to the extent the Court does not rule on the Motion on or before


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November 30, the parties would discuss in good faith a schedule for Meta’s response to the order

to show cause (if necessary).




 DATED: November 20, 2023                          Respectfully submitted,

                                                   /s/ James P. Rouhandeh

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